991 F.2d 790
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jeffrey K. REID, Plaintiff-Appellant,v.STANLEY STEEMER CARPET CLEANER, Defendant-Appellee.
    No. 92-2264.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 29, 1993Decided:  April 20, 1993
    
      Appeal from the United States District Court for the Western District of North Carolina, at Charlotte.  Paul B. Taylor, Magistrate Judge.  (CA-89-403-C-C-M)
      Jeffrey K. Reid, Appellant Pro Se.
      Richard Earl Fay, PETREE STOCKTON, for Appellee.
      W.D.N.C.
      AFFIRMED.
      Before LUTTIG, Circuit Judge, and BUTZNER and CHAPMAN, Senior Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Jeffrey K. Reid appeals from the district court's order denying relief under 42 U.S.C. § 1981 and Title VII.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Reid v. Stanley Steemer, No. CA-89-403-C-C-M (W.D.N.C. Sept. 9, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    